                                             IN THE UNITED STATES DISTRICT COURT
                                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                                      HOUSTON DIVISION

GULF COAST ENVIRONMENTAL                                                                           §
SYSTEMS, LLC                                                                                       §
                                                                                                   §
                                                              Plaintiff,                           §
                                                                                                   §
vs.                                                                                                §
                                                                                                   §
AMERICAN SAFETY INDEMNITY                                                                          §             CIVIL ACTION NO. 4:11-cv-02753
COMPANY and ENDURANCE AMERICAN                                                                     §
SPECIALTY INSURANCE COMPANY                                                                        §
                                                                                                   §
                                                              Defendants.                          §




                AGREED JOINT MOTION FOR PARTIAL ABATEMENT AND IN THE
                        ALTERNATIVE, MOTION FOR CONTINUANCE


TO THE HONORABLE JUDGE OF SAID COURT:


              COMES NOW, GULF COAST ENVIRONMENTAL SYSTEMS, LLC, (“GULF

COAST”), Plaintiff, AMERICAN SAFETY INDEMNITY COMPANY (“ASI”), and

ENDURANCE AMERICAN SPECIALTY INSURANCE COMPANY (“ENDURANCE”),

Defendants, in the above-entitled and numbered cause, and file this Agreed Joint Motion for

Partial Abatement and in the Alternative, Motion for Continuance, and would show the Court the

following:


              1. This case is set for trial on February 7, 2013.

              2. The discovery cutoff date is November 30, 2012.




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              3. Plaintiff and ASI filed cross motions for summary judgment, seeking judgment on

                     ASI’s duty to defend the underlying suit. ASI additionally seeks summary judgment

                     on its duty to indemnify Plaintiff for the claims asserted in the underlying suit,

                     contending that this issue can be decided on the basis of the summary judgment

                     evidence as a matter of law. Plaintiff asserts that such motion by ASI is premature at

                     this time.

              4. Endurance also filed a motion for summary judgment against Plaintiff on its duty to

                     defend and indemnify Plaintiff against the claims in the underlying suit.

              5. An oral hearing on the Motions for Summary Judgment filed by all three parties was

                     held before the Magistrate on August 13, 2012. The Court has not yet ruled on the

                     pending motions for summary judgment.

              6. At a minimum, the parties anticipate that ASI’s duty to defend will be resolved by the

                     pending motions for summary judgment and agree that no discovery is required on

                     the ASI duty to defend issues because pursuant to the eight-corners rule the duty to

                     defend is determined on the basis of the underlying complaint and the terms of the

                     insurance policies. National Union Fire Ins. Co. v. Merchants Fast Motor Lines, Inc.,

                     939 S.W.2d 139, 141 (Tex. 1997); Texas Prop. & Cas. Ins. Guar. Ass’n. v. Southwest

                     Aggregates, Inc., 982 S.W.2d 600, 604 (Tex. App. – Austin 1998, no pet.).

              7. If the Court denies the pending motions for summary judgment as to the duty to

                     indemnify (finding that the issue cannot be decided on the summary judgment

                     evidence as a matter of law), the duty to indemnify issue is not ripe until the

                     underlying suit is resolved. See D.R. Horton – Texas, Ltd. v. Markel Int’l Ins. Co.,

                     300 S.W.3d 740, 743-44 (Tex. 2009).



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              8. It is unlikely that the underlying suit will be tried prior to the current trial date in this

                     case.         Because the underlying case in Pennsylvania has not been resolved, the

                     Plaintiff’s claim for indemnification is not ripe. Plaintiff thus asks the Court to abate

                     its claim for indemnification as necessary to permit efficient administration of the

                     case. This motion to abate is subject to and does not require the abatement of the

                     pending motions for summary judgment as to the indemnification claim.

              9. Alternatively, Plaintiff and Defendants jointly request the Court to continue the trial

                     date and all current pretrial deadlines 60 days so that the parties are not forced to

                     conduct discovery on issues that are not yet ripe and that may be decided on summary

                     judgment.

              10. This motion is not sought merely for purposes of delay but to permit the more

                     efficient adjudication of this case.

              WHEREFORE, PREMISES CONSIDERED, all parties jointly request the Court to

change the Scheduling/Docket Control Order as described above, and abate the Plaintiff’s claim

for indemnification subject to the Court’s ruling on the pending motions for summary judgment




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                                                                                                   Respectfully submitted,


Date: October 31, 2012                                                                             /s/ Charles S. Fuquay_________________
                                                                                                   Charles S. Fuquay
                                                                                                   Texas Bar No. 07552400
                                                                                                   Southern District ID No. 37786
                                                                                                   Jones, Allen & Fuquay, L.L.P.
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                                                                                                   Counsel for Plaintiff Gulf Coast
                                                                                                   Environmental Systems, LLC

Date: October 31, 2012                                                                             /s/ Lauren N. Pierce_________________
                                                                                                   Lauren N. Pierce
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                                                                                                   Counsel for Defendant American Safety
                                                                                                   Indemnity Company

Date: October 31, 2012                                                                             /s/ Steven B. Harris _________________
                                                                                                   Steven B. Harris
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                                                                                                   Southern District ID No. 3920
                                                                                                   Eric J. Cassidy
                                                                                                   Texas Bar No. 24031807
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                                                                                                   Counsel for Defendant Endurance
                                                                                                   American Specialty Insurance Company

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                                                            CERTIFICATE OF SERVICE


       I hereby certify that a true and correct copy of the foregoing has been served upon the
following via the electronic filing system, on this 31st day of October, 2012:

Lauren N. Pierce
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Facsimile: (713) 546-5830     By: /s/ Charles S. Fuquay_____________________
                                     Charles S. Fuquay




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